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AO 245D (Rev. )   Judgment in a Criminal Case for Revocations
                        Sheet 1



                                       UNITED STATES DISTRICT COURT
                                                          Middle District
                                                       __________ DistrictofofAlabama
                                                                               __________
          UNITED STATES OF AMERICA                                      Judgment in a Criminal Case
                     v.                                                 (For Revocation of Probation or Supervised Release)

              MORRIS BRYAN PARMER
                                                                        Case No. 1:19cr238-RAH-1
                                                                        USM No. 26511-017
                                                                         Christine Freeman
                                                                                                Defendant’s Attorney
 THE DEFENDANT:
 ✔ admitted guilt to violation of condition(s)
 G                                                          1                           of the term of supervision.
 G was found in violation of condition(s) FRXQW V                                   after SOHDGLQJQRFRQWHVW
 The defendant is adjudicated guilty of these violations:

 Violation Number               Nature of Violation                                                         Violation Ended
 1                               Failure to notify Probation Officer of change of residence                 09/22/2021




        The defendant is sentenced as provided in pages 2 through           2       of this judgment. The sentence is imposed pursuant to
 the Sentencing Reform Act of 1984.
 G The defendant has not violated condition(s)                             and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
 fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
 economic circumstances.

 Last Four Digits of Defendant’s Soc. Sec. No.: 3046                    11/10/2021
                                                                                           Date of Imposition of Judgment
 Defendant’s Year of Birth:            1958
                                                                        /s/ R. Austin Huffaker, Jr.
 City and State of Defendant’s Residence:                                                         Signature of Judge
 Quincy, Florida
                                                                        R. Austin Huffaker, Jr., United States District Judge
                                                                                               Name and Title of Judge

                                                                        11/10/2021
                                                                                                        Date
                   Case 1:19-cr-00238-RAH-SRW Document 75 Filed 11/10/21 Page 2 of 2
AO 245D (Rev. )   Judgment in a Criminal Case for Revocations
                       Sheet 2— Imprisonment
                                                                                                 Judgment — Page   2       of   2
DEFENDANT: MORRIS BRYAN PARMER
CASE NUMBER: 1:19cr238-RAH-1

                                                              IMPRISONMENT

           The defendant is hereby committed to the custody of the )HGHUDOBureau of Prisons to be imprisoned for a total
term of:
Time served (49 days). The term of supervised release imposed on July 9, 2020, is revoked, with no supervised
release to follow.



     G The court makes the following recommendations to the Bureau of Prisons:




     ✔ The defendant is remanded to the custody of the United States Marshal.
     G

     G The defendant shall surrender to the United States Marshal for this district:
         G    at                                 G a.m.         G p.m.       on                                        .
         G    as notified by the United States Marshal.

     G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         G    before 2 p.m. on                                           .
         G    as notified by the United States Marshal.
         G    as notified by the Probation or Pretrial Services Office.

                                                                     RETURN

I have executed this judgment as follows:




         Defendant delivered on                                                       to

at                                                 with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL


                                                                         By
                                                                                           DEPUTY UNITED STATES MARSHAL
